

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1504-11
					





THE STATE OF TEXAS, Appellant



v.



MICHAEL MOSELY





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


 TRAVIS COUNTY






Per curiam.  Keasler and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

Filed:  November 16, 2011

Do Not Publish


